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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

DARAIUS DUBASH, and DR. FARAZ                   §
HARSINI                                         §
                                                §
Plaintiffs,                                     §   CIVIL ACTION CASE NO. 4:23-cv-03556
                                                §
v.                                              §
                                                §
CITY OF HOUSTON, TEXAS;                         §
HOUSTON DOWNTOWN PARK                           §
CORPORATION; OFFICER ROBERT                     §
DOUGLAS (# 7943), in his individual             §
capacity; OFFICER VERN WHITWORTH                §
(# 7595), in his individual capacity;           §
DISCOVERY GREEN CONSERVANCY                     §
f/k/a HOUSTON DOWNTOWN PARK                     §
CONSERVANCY; and BARRY MANDEL,                  §
in his individual capacity,                     §
                                                §
Defendants.                                     §



          JOINT DISCOVERY/CASE MANAGEMENT PLAN UNDER RULE 26(F)
                     FEDERAL RULES OF CIVIL PROCEDURE1

1.       State where and when the meeting of the parties required by Rule 26(f) was held and
         identify the counsel who attended for each party.

         Plaintiffs, Defendant Discovery Green Conservancy, and Defendant Mandel conferred by
         telephone on November 27, 2023. JT Morris attended for Plaintiffs. Andrew Holland
         attended for Defendants Discovery Green Conservancy and Mandel.

         To date, none of Defendants City of Houston, Houston Downtown Park Corporation,
         Officer Robert Douglas, and Officer Vern Whitworth (“City Defendants”) or their counsel
         have appeared in this case. Plaintiffs have personally served or received signed waiver
         forms for each of the City Defendants. (Dkt. 11-12, 22-23).




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    A proposed scheduling order is attached.
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      Counsel for Plaintiffs contacted Melissa Azadeh, Senior Assistant Attorney for the City of
      Houston, on November 21, November 23, and November 27 about the Rule 26(f)
      conference. Ms. Azadeh has communicated with Plaintiffs’ counsel regarding the City
      Defendants, including on matters like service of the complaint and extensions of time to
      answer Plaintiffs’ complaint.

2.    List the cases related to this one that are pending in any state or federal court with
      the case number and court.

      None.

3.    Specify the allegation of federal jurisdiction.

      Federal question jurisdiction under 28 U.S.C. § 1331; 28 U.S.C. § 1343; 28 U.S.C § 1367;
      28 U.S.C. §§ 2201, 2202.

4.    Name the parties who disagree and the reasons.

      Defendants Discovery Green Conservancy and Mandel do not disagree that federal
      question jurisdiction and supplemental subject matter jurisdiction exists.

5.    List anticipated additional parties that should be included, when they can be added,
      and by whom they are wanted.

      None at this time.

6.    List anticipated interventions.

      None at this time.

7.    Describe class-action issues.

      None.

8.    State whether each party represents that it has made the initial disclosures required
      by Rule 26(a). If not, describe the arrangements that have been made to complete the
      disclosures.

      Plaintiffs, Defendant Discovery Green Conservancy, and Defendant Mandel have agreed
      to serve initial disclosures on or before December 5, 2023.


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9.    Describe the proposed agreed discovery plan, including:

      A.    Responses to all the matters raised in Rule 26(f).

            1. Subjects on which discovery may be needed:

                Without limitation, these subjects include: (a) the relationship between
                Defendants City of Houston, Houston Downtown Park Management
                Corporation, and Discovery Green Conservancy, (b) any alleged delegation of
                municipal authority or decision-making power to Discovery Green
                Conservancy; (c) the creation, operation, uses of, and management of
                Discovery Green park; (d) alleged policies, customs, and practices concerning
                the operation, use of, and management of Discovery Green park; (e) the
                incidents alleged in Paragraphs 83–154 of Plaintiffs’ complaint; (f) the alleged
                prior restraint on Plaintiffs’ expressive activities alleged in Plaintiffs’
                complaint; (g) Plaintiff Dubash’s alleged exercises of religious freedom; and
                (h) alleged harm and damages to Plaintiffs.

            2. Electronically preserved information:

                The parties are likely to request and produce electronically stored information
                (ESI) in discovery. Production of ESI will be made using (i) image and data
                load files in Concordance or similar format and (ii) in PDF format. To the extent
                reasonably possible, the parties will ensure that all documents produced in
                electronic format are searchable (with Optical Character Recognition),
                readable, and with metadata intact. For ESI that does not translate readily to
                images or PDF (like audiovisual data, spreadsheets, and databases), the parties
                agree to produce those in native format.

                The parties will work in good faith to narrow any dispute over the scope and
                production of ESI, including the preparation of necessary confidentiality
                agreements, if any. Should either party inadvertently produce privileged
                information, that information shall immediately be returned to the producing
                party pursuant to the clawback provision set forth below. The parties agree to
                take reasonable measures to preserve potentially discoverable ESI from
                alteration or destruction.




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       3. Claims of privilege or protection:

          The parties agree that whenever a claim of privilege or work product is asserted,
          it shall be supported by a privilege log as described in Fed. R. Civ. P. 26(b)(5).
          In the case of answers to interrogatories and productions of documents, the
          privilege log shall be produced within 45 days after the answers to
          interrogatories are served or documents are produced. The parties agree that
          communications after the filing date of the lawsuit do not need to be included
          on a party’s privilege log.

          The parties agree that any inadvertent inclusion of privileged material in any
          disclosure or discovery response shall not result in a waiver of any associated
          privileged nor result in a subject matter waiver of any kind. A party who
          receives information which appears to be privileged shall immediately inform
          the producing party and shall, upon request, (1) immediately return all
          inadvertently produced information; (2) shall refrain from using or relying on
          such information absent a Court order to the contrary; and (3) shall destroy all
          copies or versions of the information. This clawback procedure does not limit
          or waive the ability of the non-producing party to challenge the claim of
          privilege with the Court.

       4. Changes in the limitations on discovery imposed under these rules or by
          local rule:

          Plaintiffs believe that because there are six Defendants, the total of 25
          interrogatories under L.R. 33 will not permit fair and complete discovery in this
          case. Plaintiffs believe the general rule under FRCP 33(a)(1) of no more than
          25 interrogatories served on a party (including all discrete subparts) is more
          suitable for this case.

       5. Orders Pursuant to Fed. R. Civ. P. 26(f)(3)(F).

          None at this time. The parties will evaluate the need for a protective order upon
          evaluating discovery requests. If either party desires a protective order, the
          parties agree to negotiate in good faith over the terms of that order and submit
          it to the Court for approval..

 B.    When and to whom the plaintiff anticipates it may send interrogatories.

       Plaintiffs anticipate sending interrogatories to each named Defendant, no earlier
       than after the December 12, 2023 initial pretrial conference. Plaintiff does not
       anticipate any need to depart from the number and scope set out in FRCP 33(a).

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 B.    When and to whom the defendant anticipates it may send interrogatories.

       Defendants anticipate sending interrogatories to each named Plaintiff, no earlier
       than after the December 12, 2023 initial pretrial conference. Defendants do not
       anticipate any need to depart from the number and scope set out in FRCP 33(a).

 D.    Of whom and by when the plaintiff anticipates taking oral depositions.

       Without limitation, Plaintiffs anticipate taking the oral deposition of the following:

       1. Defendant City of Houston, through one or more of its designees under FRCP
          30(b)(6);
       2. Defendant Houston Downtown Park Corporation, through one or more of its
          designees under FRCP 30(b)(6);
       3. Defendant Discovery Green Conservancy, through one or more of its designees
          under FRCP 30(b)(6);
       4. Defendant Robert Douglas;
       5. Defendant Vern Whitworth;
       6. Defendant Barry Mandel;
       7. Floyd Willis, Discovery Green Conservancy employee.
       8. Brian Wilmer, Discovery Green Conservancy employee.
       9. Houston Police Officer M Q Ta.
       Plaintiffs anticipate taking these depositions in April and May 2024, subject to
       Defendants timely producing documents needed to fairly complete the depositions.

 E.    Of whom and by when the defendant anticipates taking oral depositions.

       Defendants anticipate taking depositions of the named Plaintiffs in or before May
       2024.

 F.    When the plaintiff (or the party with the burden of proof on an issue) will be
       able to designate experts and provide the reports required by Rule 26(a)(2)(B)
       and when the opposing party will be able to designate responsive experts and
       provide their reports.

       Plaintiff: June 7, 2024

       Defendants Discovery Green Conservancy and Mandel: July 12, 2024



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       G.     List expert depositions the plaintiff (or the party with the burden of proof on
              an issue) anticipates taking and their anticipated completion date. See Rule
              26(a)(2)(B) (expert report).

              At this time, none. Plaintiffs reserve the right to timely depose any expert one or
              more Defendants disclose.

       H.     List expert depositions the opposing party anticipates taking and their
              anticipated completion date. See Rule 26(a)(2)(B) (expert report).

              At this time, none. Defendants reserve the right to timely depose any expert one or
              more Plaintiffs disclose.

10.    If the parties are not agreed on a part of the discovery plan, describe the separate
       views and proposals of each party.

       Defendants Discovery Green Conservancy and Barry Mandel have agreed to aspirational
       dates but believe that input from the remaining defendants is necessary in order to
       meaningfully set a discovery schedule, particularly since many of the witnesses Plaintiffs
       intend to depose are not within the Conservancy and Mr. Mandel’s control. The City
       defendants have not yet responded to the Complaint or otherwise appeared in this case
       (and their time to respond has not yet expired).


11.    Specify the discovery beyond initial disclosures that has been undertaken to date.

       None to date.

12.    State the date the planned discovery can reasonably be completed.

       August 2, 2024

13.    Describe the possibilities for a prompt settlement or resolution of the case that were
       discussed in your Rule 26(f) meeting.

       Plaintiffs, Defendant Discovery Green Conservancy, and Defendant Mandel are continuing
       to discuss at least partial resolution, including resolving the issues raised in Plaintiffs’
       preliminary injunction motion. Because of the interplay between the Conservancy,
       Defendant City of Houston, and Defendant Houston Downtown Park Corporation,
       discussion with the latter two is likely needed for any meaningful resolution of Plaintiffs’
       equitable claims.


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       The parties have not yet discussed the possibility of resolving Plaintiffs’ damages claims,
       but have agreed to continue working in good faith to see if that is possible.

14.    Describe what each party has done or agreed to do to bring about a prompt
       resolution.

       Plaintiffs, Defendant Discovery Green Conservancy, and Defendant Mandel have
       discussed settlement and resolution possibilities several times before and during the Rule
       26(f) meeting, as well as prior to the filing of this case. They have not resolved or settled
       the case, but will continue working in good faith on potential resolution.

15.    From the attorneys' discussion with the client, state the alternative dispute resolution
       techniques that are reasonably suitable and state when such a technique may be
       effectively used in this case.

       Plaintiffs, Defendant Discovery Green Conservancy, and Defendant Mandel believe that
       mediation may be suitable for this case, sometime between when the Court decides
       Plaintiffs’ preliminary injunction motion and before the close of discovery.

16.    Magistrate judges may now hear jury and non-jury trials. Indicate the parties' joint
       position on a trial before a magistrate judge.

       The parties do not consent to a trial before a magistrate judge.

17.    State whether a jury demand has been made and if it was made on time.

       Plaintiffs demanded a jury as part of their complaint (Dkt. 1).

18.    Specify the number of hours it will take to present the evidence in this case.

       Plaintiffs, Defendant Discovery Green Conservancy, and Defendant Mandel believe a jury
       trial will take five days.

19.    List pending motions that could be ruled on at the initial pretrial and scheduling
       conference.

       None.




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20.    List other motions pending.

       Plaintiffs’ Motion for Preliminary Injunction. (Dkt. 13). The Conservancy and Mr. Mandel
       are contemplating a pre-answer motion pursuant to Rule 12(b).

21.    Indicate other matters peculiar to this case, including discovery, that deserve the
       special attention of the court at the conference.

       None at this time, except to the extent that Defendants Discovery Green Conservancy and
       Mandel believe that the discovery schedule may be affected by the filing of a Rule 12(b)
       motion.

22.    List the names, bar numbers, addresses and telephone numbers of all counsel.

       Counsel for Plaintiffs:

       John Greil (TX 24110856)
       Steven T. Collis (TX 24122632)
       Law and Religion Clinic
       University of Texas School of Law
       727 E. Dean Keaton St.
       Austin, TX 78705
       (512) 475-9090

       JT Morris (TX 24094444)
       Gabe Walters* (DC 1019272)
       Foundation for Individual Rights and Expression
       700 Pennsylvania Ave., Suite 340
       Washington, D.C. 20003
       (215) 717-3473

       Daniel Ortner* (CA 329866)
       Foundation for Individual Rights and Expression
       510 Walnut St., Suite 1250
       Philadelphia, PA 19106
       (215) 717-3473

       *Admitted Pro Hac Vice




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      Counsel for Defendants Discovery Green Conservancy and Barry Mandel

      Andrew Stephen Holland (TX 24134330)
      Wilson, Elser, Moskowitz, Edelman & Dicker, LLP
      909 Fannin St.
      Suite 3300
      Houston, TX 77010
      713-353-2000

Dated: November 28, 2023               Respectfully submitted,

                                       /s/ JT Morris
                                       John Greil (TX 24110856)
                                       Steven T. Collis (TX 24122632)
                                       Law and Religion Clinic
                                       University of Texas School of Law
                                       727 E. Dean Keaton St.
                                       Austin, TX 78705
                                       (512) 475-9090
                                       John.greil@law.utexas.edu
                                       Steven.collis@law.utexas.edu

                                       JT Morris (TX 24094444)
                                       Gabe Walters (admitted pro hac vice)
                                       Foundation for Individual Rights and Expression
                                       (215) 717-3473
                                       700 Pennsylvania Ave., SE
                                       Suite 340
                                       Washington, DC 20003
                                       jt.morris@thefire.org
                                       gabe.walters@thefire.org

                                       Daniel Ortner (admitted pro hac vice)
                                       Foundation for Individual Rights and Expression
                                       (215) 717-3473
                                       510 Walnut St.
                                       Suite 1250
                                       Philadelphia, PA 19106
                                       daniel.ortner@thefire.org

                                       Attorneys for Plaintiffs


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                                /s/ Andrew S. Holland
                                Andrew S. Holland
                                State Bar No. 24134330
                                Andrew.holland@wilsonelser.com
                                Wilson, Elser, Moskowitz, Edelman &amp; Dicker,
                                LLP
                                909 Fannin St., Suite 3300
                                Houston, TX 77010
                                713-353-2000 tel
                                713-785-7780 fax

                                Attorneys for Defendants Discovery Green
                                Conservancy and Barry Mandel




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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 28, 2023, I electronically filed the foregoing Joint

Discovery/Case Management Plan Under Rule 26(f) with the Clerk of the United States District

Court for the Southern District of Texas using the CM/ECF system.

       I also served copies by email on the same date to the following:

                      Melissa Azadeh
                      City of Houston Legal Department
                      melissa.azadeh@houstontx.gov


                                                           /s/ JT Morris
                                                           JT Morris
